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AO 440 (Rev, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of California [~|

Vikram Valame

Plaintiff(s)
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Joseph Robinette Biden, in bis official capacily as President of the United States; Craig T. Brawn, in his
official capacity as Acting Deputy Director of the Selective Service System; Joel C. Spangenberg, in his
official capacity as Acting Director of the Selective Service System; Steven L, Kett, in his official capacity
as Regional Manager of Region LI of the Selective Service System; The United States; Selective Service
System, an Agency of the Uniled States; Steven L, Keit, in bis personal capacity; Ismail Ramsey, in his
official capacity as U.S, allormey for dae Northern District of Califoraia; Jokn Arbogast, in his official
capacity as Selective Service California Stale Director; Jen Arbogast, in bis persona capacity

Defendant(s)

 

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SUMMONS IN A CIVIL ACTION

Steven L. Kett, in his official capacity as Regional Manager of Region Il! of the

To: (Defendant's name and address) Selective Service System

These copies of the summons and complaint are to be sent by registered or certified
mail to the civil-process clerk at the Office of the United States Attorney for the
Northern District of California (450 Golden Gate Avenue San Francisco, CA 94102)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: ,,,

Vikram Valame

4039 2nd Street Palo Alto, California 94306

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

JUN? 9 7023 Betty J. Walton

Date:

 

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